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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


   NATIONWIDE ANESTHESIA SERVICES,
   INC.,

         Plaintiff,

   v.                                                  CASE NO: 8:06-cv-815-T-23EAJ

   JUAN M. DIAZ, et al.,

        Defendants.
   ___________________________________/



                                               ORDER

         On December 5, 2005, Nationwide Anesthesia Services (“the plaintiff”) sued Juan

   M. Diaz (“Diaz”) and U.S. Anesthesia, Inc., (“USAI”) in state court for breach of contract

   and misappropriation of trade secrets. On April 17, 2006, the plaintiff amended its

   state-court complaint (Doc. 2) to add defendants Kelly Atkinson (“Atkinson”) and KLMD,

   LLC, (“KLMD”). Asserting diversity jurisdiction under 28 U.S.C. § 1332(a), Atkinson

   removed (Doc. 1) this action on May 2, 2006, within thirty days of service. The plaintiff

   moves to remand and argues, inter alia, that Atkinson’s removal is defective because

   the first-named defendants (Diaz and USAI) waived removal by failing to remove within

   thirty days of service (Doc. 10-1 at 13).

         Pursuant to 28 U.S.C. § 1446(b), notice of removal must be filed “within thirty

   days after receipt by the defendant, through service or otherwise, of a copy of the initial

   pleading setting forth the claim for relief upon which such action or proceeding is based
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   . . . .” In a case with multiple defendants, every defendant must consent to removal.

   Russell Corp. v. Am. Home Assur. Co., 264 F.3d 1040, 1049 (11th Cir. 2001) (“The

   unanimity requirement mandates that in cases involving multiple defendants, all

   defendants must consent to removal.”). The Eleventh Circuit has yet to determine

   whether a later-named defendant may properly remove a case after the first-named

   defendant failed to remove within thirty days.1 Although courts disagree, most hold that

   “‘if the first served defendant abstains from seeking removal or does not effect a timely

   removal, subsequently served defendants cannot remove . . . due to the rule of

   unanimity among defendants which is required for removal.’” Brown v. Demco, Inc., 792

   F.2d 478, 481 (5th Cir. 1986)(citing 1A JAMES WM. MOORE ET AL., MOORE’S FEDERAL

   PRACTICE ¶ 0.168 [3.5-5], at 586-87 (2d ed. 1985)). See McKinney v. Board of Trustees

   of Maryland Comm. College, 955 F.2d 924, 926 n.3 (4th Cir. 1992). Several district

   courts in this circuit have adopted this approach. See, e.g., Adams v. Charter Comm.

   VII, LLC, 356 F.Supp. 2d 1268, 1273 (M.D. Ala. 2005); Smith v. The Health Center of

   Lake City, Inc., 252 F.Supp. 2d 1336, 1341-46 (M.D. Fla. 2003); Faulk v. Superior

   Indus. Int’l, Inc., 851 F.Supp. 457, 458 (M.D. Fla. 1994); Noble v. Bradford Marine, Inc.,

   789 F.Supp 395, 397 (S.D. Fla. 1992)(“The addition of a new Defendant in an Amended

   Complaint . . . does not start the time for removal anew when the original complaint

   itself was removable.”)



           1
             Because an order remanding a case under 28 U.S.C. § 1447(c) is not reviewable on appeal,
   circuit courts rarely address procedural defects in removal. See In re Ocean Marine Mut. Prot. and
   Indem. Ass’n., Ltd., 3 F.3d 353, 355 (11th Cir. 1993) (holding that “a remand order based on a timely
   § 1447(c) motion to remand for defects in removal procedure is unreviewable pursuant to § 1447(d)”).

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          Atkinson removed this case nearly five months after service of defendants Diaz

   and USAI. For diversity of citizenship purposes, all four defendants are citizens of

   Georgia and the plaintiff (allegedly) is a citizen of Florida.2 Rather than file a notice of

   removal within thirty days, the first-named defendants (Diaz and USAI) willingly

   proceeded in state court, deposed the plaintiff’s president, answered interrogatories,

   requested document production, and moved to compel discovery and to dismiss the

   plaintiff’s original complaint (Doc. 10-2). Because the plaintiff’s original complaint

   contained the same jurisdictional allegations as its amended complaint, Diaz and USAI

   may not consent to removal.3 This conclusion “follows logically from the unanimity

   requirement, the thirty-day time limit, and the fact that a defendant may waive removal

   by proceeding in state court.” Brown, 792 F.2d at 482. The Eleventh Circuit has urged

   district courts to heed the “bright line limitations on federal removal jurisdiction” as “an

   inevitable feature of a court system of limited jurisdiction that strictly construes the right

   to remove.” Russell Corp. v. Am. Home Assur. Co., 264 F.3d 1040, 1050 (11th Cir.

   2001).




            2
               The parties dispute whether the plaintiff is a citizen of Florida or Georgia. Of course, if the
   plaintiff is a citizen of Georgia, no federal subject matter jurisdiction exists because complete diversity
   among the parties is lacking (regardless of the procedural propriety of Atkinson’s removal). However,
   because Diaz and USAI failed to remove within thirty days, the court need not resolve the dispute
   over the plaintiff’s true citizenship.
            3
            All four defendants are closely connected. As a corporate officer, Diaz owns 99% of KLMD.
   Atkinson and Diaz each own 40% of USAI, and Atkinson was deposed in state court as the corporate
   representative of USAI. Further, the Aye Law Firm represents both Diaz (a first-named defendant)
   and KLMD (a later-named defendant). Similarly, Thompson, Sizemore, & Gonzalez represents both
   USAI (a first-named defendant) and Atkinson (the removing defendant).

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          Accordingly, the plaintiff’s Motion to Remand (Doc. 10) is GRANTED and this

   action is REMANDED. The plaintiff’s request for attorney fees incurred from its motion

   to remand is DENIED. See Smith, 252 F. Supp. at 1346 (“Given that there is no

   Eleventh Circuit precedent on point and the different conclusions reached by various

   courts concerning when the thirty day period for removal begins in this situation, the

   Court declines to award fees and costs.”) The Clerk is directed to (1) mail a certified

   copy of this order, pursuant to 28 U.S.C. § 1447(c), to the Clerk of the Circuit Court for

   Hillsborough County, (2) terminate any pending motion, and (3) close the case.

          ORDERED in Tampa, Florida, on June 26, 2006.




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